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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

CHICAGO WOMEN IN TRADES,

                Plaintiff,

      v.                                       Case No. 25 C 2005

PRESIDENT DONALD J. TRUMP,
DEPARTMENT OF LABOR, ACTING
SECRETARY OF LABOR VINCENT
MICONE, OFFICE OF MANAGEMENT
AND BUDGET, DIRECTOR OF THE
OFFICE OF MANAGEMENT AND
BUDGET RUSSELL VOUGHT, U.S.
DEPARTMENT OF JUSTICE,
ATTORNEY GENERAL OF THE U.S.
DEPARTMENT OF JUSTICE PAMELA
BONDI,

                Defendants.



                        TEMPORARY RESTRAINING ORDER

MATTHEW F. KENNELLY, District Judge:

      This matter comes before the Court on the motion by plaintiff Chicago Women in

Trades's ("CWIT") motion for a temporary restraining order. CWIT's motion is

GRANTED for the following reasons:

   1. CWIT has standing to challenge the Termination Provision (§ 2(b)(i)) of Executive

      Order 14151, 90 Fed. Reg. 8339 (Jan. 20, 2025) ("J20 Order"), and the

      Certification Provision (§ 3(b)(iv)) of Executive Order 14173, 90 Fed. Reg. 8633

      (Jan. 21, 2025) ("J21 Order"), and its claims are ripe for review.

   2. CWIT has shown that it is likely to succeed on the merits of its First Amendment

      claims involving the Termination Provision and the Certification Provision.
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   3. CWIT has shown irreparable harm and that there is no adequate remedy at law.

   4. The balance of equities favors CWIT because of the severity of a First

          Amendment injury, because the government can still enforce the provisions of

          the Executive Orders that are unlikely to violate the First Amendment, and

          because the government can still enforce existing anti-discrimination laws.

Therefore, upon consideration of CWIT’s motion for a temporary restraining order and

the parties' briefs and exhibits, it is hereby:

          ORDERED that the motion for a temporary restraining order is GRANTED to the

extent stated in this Order; and it is further

          ORDERED that, pending a further order by the Court, the Acting Secretary of

Labor; the U.S. Department of Labor; its officers, agents, servants, employees,

attorneys; and other persons who are in active concert or participation with any of them

(collectively, the "Enjoined Parties"), shall not pause, freeze, impede, block, cancel, or

terminate any awards, contracts or obligations (collectively, the "Current Obligations")

with CWIT, or change the terms of any Current Obligations with CWIT, on the basis of

the Termination Provision (§ 2(b)(i)) of Executive Order 14151, 90 Fed. Reg. 8339 (Jan.

20, 2025); and it is further

          ORDERED that the Enjoined Parties shall not require any grantee or contractor

to make any "certification" or other representation pursuant to the Certification Provision

(§ 3(b)(iv)) of Executive Order 14173, 90 Fed. Reg. 8633 (Jan. 21, 2025); and it is

further

          ORDERED that the Government shall not initiate any False Claims Act

enforcement action against CWIT pursuant to the Certification Provision (§ 3(b)(iv)) of



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the J21 Order; and it is further

       ORDERED that the Department of Labor shall provide a copy of this Order to all

agency and bureau heads, and all other relevant parties; and it is further

       ORDERED that the Department of Labor file a status report within 24 hours of

the issuance of this order, and every week thereafter while this order is in effect,

confirming compliance with this order.

       This order shall apply to the maximum extent provided for by Fed. R. Civ. P.

65(d)(2) and shall persist until further order of this Court.

       SO ORDERED this 27th day of March, 2025.



                                            _____________________________________
                                                    MATTHEW F. KENNELLY
                                                 United States District Court Judge




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